WILL ADMEND AT A LATER DATE

IN THE UNITED STATES DISTRICT COURT FOR THE MlDDLE DlSUlCllIC§` dmig

NASHVILLE TENNESSEE 1 < 1
MIUL_L 1./`,1','§`,; hi vii

snEMEKA rBRAHn\/t )

Plainaff ' § )

Vs ` )Docket No.

MURFREESBORO MEDICAL vCL]NIC )

P.A. DOCTOR ANDREW H FORD )

et al ) JUDGE
y SLEEP MEDICINE OF MIDDLE )

TENNESSEE )

KELLY A. CARDEN , )

Defendants ) _

MOTION FOR MEDICAL NEGLIGENT& MALPRACTRICE COMPLA]NT WITH
CONTINUOS TREATMENT DOCTRINE

Comes now the plaintiff Mrs. Shemeka lbrahim pro se style filing the above

- v motions against defendants’ Doctor Andrew Hunter Ford & Murfreesboro Medical P.A.
Doctor Ford (here in after Ford) was at all time of the incident a employee of MMC and
was the surgeon who was working on the Plaintiff on the day of the incident The
Defendant Murfreesboro Medical Clinic P.A. (hereinafter MMC) and their employees
nurse Jane Doe (hereinafter Doe) of MMC and at the time of the incident was employed
and working for MMC as a nurse and was responsible of the material and supply count
on August 10, 2011. The Defendant patient advocate Mrs. Betty Rose and Jennifer
Wilson the office manager who at the time of the allege incident was a agent/employee
for the defendant MMC who operating their business at 1272 Garrison Drive
Murfreesboro Tennessee 37129

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Defendant Doctor Kelly A. Carden who at the time of this complaint was a
employee of Sleep Medicine of Middle Tennessee (hereinafter SMT) who is doing
business at 300 20th Avenue North Suite 8G Nashville, TN 37203 and was a employee of
SMT. at the time of this complaint and for her personal interest of this case. Carden had
told be to visit Ford back in May 24, 2012 in which she wanted me to do something that
Was not legal and she did not mention this in my medical records. She is adding thing in
my medical record and selecting careful wording instead of the'entire visit what we
discuss. Even though she knew l did not want to go back. And she knew this and l went
back to do of what she asked me to do. l gave her intent letter back in Au gust in which
she has not responding to the intent letter. Based on information and believe she and Ford

7 mayhave the same insurance company State Volunteer Mutual Insurance Company. But

she choice to ignore the law new law requirements because someone is filing pro se
temporary is unjust and should not go unpunished

I gave notice prior to the filing of this complaint.’ The intent letter was only to
give a brief description of the lawsuit to the defendants for the purpose to try to settle the
matter before filing the suit. Based on information and belief, The Defendant has not

Doctor Ford et al did not merely make a mistake These doctors should not get off
lightly. Because to date since they did not inform me of what disease l am frighten made
it hard for the ER doctors to treat since l could not tell that doctor what l truly have. l
have lam so scared and by walking around here on earth having doctors tell you that I
am frighten an unknown bacteria infection, or I have an uncertain finding of a bilateral
enlargement of my saliva gland. And it‘s a incidental finding do not make since when
the finding was always their but overlook by these doctors. The reason it was uncertain is
because of the delay of informing and treating me with care by taken the medical
complaint serious enough so that no one has to such server pain. The harm these doctors
cause me of go through very= pain was very hurtful. And to take my money and not
inform me of the mass, lymph nodes this can mimics a malignant Medicare had to pay for
unnecessary treatment This was one of the delay the true treatment I was lacking `
steroids as a result of these Ford and the other doctors not taken the chief complaint in a
serious matter allow the mass/lymph nodes to multiply because the believe that my pain
was make believe. The conduct was done during their employment and While on
company time. lt was done with such intentional and recklessly. This hateful behavior for
what, just for telling to truth about my pain and now I_ have the scans and scars to'prove
what l was saying all alone. I am ashamed and embarrass with the way-1 was a treated as
a victim of such outrageous behavior. Based on information and belief, l truly believe
each of these doctors have the same insurance company policy carrier. And this carries a
lot of weight as to how these doctor have no choice but to protect each other so that they
policy would not go up from legal action his or her practices.

A patient should be able to tell the truth as to what happen to them during surgery.
But these doctors l saw truly had each other back. l had to go to the extreme to prove l
was not making this illness up and the first foreign object that was left in me in
September 01, 2012. And the one foreign object he made from my own body parts to
make the nasal bridge in order to make my nose straight I now wish to file the above

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motion and is asking for a delay in this file due to the bizarre and uncontrollable I will
state my claim in this complaint and through out this medical malpractice & negligent for
failure to diagnose in a timely matter and this negligent lead to lymph nodes to grow
bilaterally. And the uncertain finding to allow bilateral swallowing saIiva enlargement
gland to grow without treatment or in the maxillary sinus wall and l can until legal
counsel is hired. This is one of a case that is complicated and should not have gone this
far. The plaintiff is suing for slander because these doctors had insulted me by saying that
l have mental problem as to why l was hurting so bad. The doctors fail to obtain medical
record of minds and do a comparison of referral records and medical images'repolt to
find the true cause of my illness. lnstead they all ignore the chief complaint instead of

dealing with this issue in hand. l had a doctor by,the name of J ames E. Tavlgr,,WhQ,iS,, ,, ,, ,

board certified as a license Otolaryngologist and board eligible for behavior health
physician The problem is that the doctor has not pass the test to be a behavior health ,
physician and trying to diagnose a patient who comes in their office and barely treat the
chief complaint by distribute antibiotics with out doing a infection culture or biopsy of
the sinus wall is just negligent `

consists of several medical negligent/malpractice patient abandonment assault and
battery and Ford failure to inform the Food Dnlg & Administrative of my complaint with
the Bovie electrocaurtery deviceand the reused of my cartilage after it has been crush
and inserted back into my nose without taking a tissue sample to the pathologist lab for
testing. This has caused me to have recurrent infection and sever pain in the bridge and
side of my nose and the nasal tip. The defendant Andrew Hunter Ford (hereinafter Ford)
a general ENT surgeon who mislead me and other former and past patients to believe
that he has perform and is qualified to practice and advertising surgeries as a
Otorhinolaryngologist, Rhinolo gist to name a few. Ford had one of the best advertising
companies who are able to lead people to his site by listing this type of special inquiry as
one of his skills. The problem with this is that Ford does not have his sub specialty
license in all these area of fields, ln order for Ford to be an Otorhinolaryngologist a
candidate must obtain a medical degree in a four year-sub specialty program and
complete with a residency, is required. Since the complaint, Ford had been trying to get
his advertising clean up to just advertise him as a General ENT Otolaryngology. Ford
o_nly_has one sub specialty license and that is in an ears nose and throat (ENT)
Otolaryngology. Ford who is only a Otolaryngology based on information and belief,
Ford have done some type of Rhinoseptoplasty, Extracorporeal, Tubinecdtomy
(spelling) and nasal tip projection with augmentation to me. lam a victim of a surgery
gone wrong. Ford had misused my consent to do some type of Open Setoplasty this Was
an unnecessary external incision.

Ford has derelict his duty as a healthcare provider to exercise a sufficient standard
of care and diligence; was negligent in his failure to inform, diagnose and treat me; was
negligent in performing inappropriate and unnecessary surgical procedures, neglecting to
consult a specialist until it was to late; failure to report the complaint to the Food and
Drug Administrative (hereinafter FDA) for what ever the device or my old cartilage
could be cause infection and is cause my body to reject this in my body. And, these
actions cause the loss of consortium with my husband and violated state laws by

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collecting fees through fraud or misrepresentation What you do not know that this
company has done this before back in 2003 on whistleblower lawsuit and the case against
HealthCare Company (hereinafter HCA), 1nc.` its home office is based out of Nashville
Tennessee. HCA was charge for criminal charges fines and civil restitution and
penalties. The investigation revealed that HCA had systematically cheated Medicare,
Medicaid and other federal funded heath care programs through schemes dating back to
the government recovered back to the 1980’s with referral of patients. This behavior have
not stop it still continue to this date and 1 have the evidence to prove this.

Now, I placed my trust with my ENTS, doctors, neurosurgeon and radiologist with
those in the healthcare professional who were involved with my medical care. I had no
reason to doubt that during my course of my nasal repair surgery. And, to date 1 am still
receiving continuous care in which 1 schedule a November 5, 2012 doctor appointment
with Doctor David Slavit who practice in New York and one with Doctor Shah in
October 5, 2012 in Chicago. The reason 1 had to go out of state is because Ford done an
unrecognized Open Setoplasty procedure that no general ENT is aware of.

1 have seen several ENTs here in Tennessee. The problem is that it took them a
year to tell me this bad news. I never had seen anything like this no local doctors did not
recognize a particular Setoplasty procedure. This was done by means of an open
Rhinoplasty approach. 1 was unaware until August of 2012 a year after the surgery.
These ENT doctors who provided their services to me would not even tell me why they
would not perform a Septoplasty like this. 1 believe because it is unpredictable or it was
an experimental procedure Either way, I do not know what this man done to'me and
still do not. It is undisputed that a patient should have the right to know what is being
done to them during surgery.

Now, the radiological services are an essential part of my care which my
neurologist, ENT and PCP could not properly treat me. l saw Doctor Danielle S. Cherdak
(hereinafter Cherdak) twice one April 17, 2012 and another before this date. Cherdak
who is a head neurologist informed me she only deals with the head area. I told her that 1
did not want any medication and that I just wanted answered to what was going on with
me. Doping me up was not solving the problem with my inflammation, nerve headache,
nasal, facial, ears, cheek, and jaw and neck problem. She told me that she could not treat
my nasal problem that 1 had to go back to Doctor Vinson 1 felt that 1 was going back and
forth in order to find a doctor who would just listen.

Prior to Doctor Cherdak appoint I then saw Doctor Edward Lee, she told me that
she would not be able to help me with my nasal problem while reading the letter 1 gave
her of from Ford of my medical operation transcription report she told me this as if she
just did not want to get involved. During the visit she asked me why I am walking with a
cane. She said that l am too young to be walking with the cane. 1 then told her that 1
should not be discriminate because of my age. She then got quite as if she knew she had
hurt my feelings. The problem was 1 went there for one reason but she treated me with
another one. This is one another reason of my delay of care.

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What is undisputed that under the differential diagnosis method, doctors are
required to make a list, either physically or mentally, of all of a patient's possible
conditions that could be the cause of the patient's medical problem? The list is based on
the patient's symptoms, medical history, physical exarnination, and the results of any
preliminary tests or other observations The possible conditions should be ranked by
order of severity and likelihood. Once the list is complete, the doctor is required to go
through the process of confirming or ruling out the possible conditions on the list, starting
1 with the most serious potentially life threatening condition first. . _

Ford done changes in my nose that cost loss of my skin and nasal tip damage that
lead to, two tones in color. 1 believe this could be causing my infection too. Mynasal wall
skin look burnt and about 3 to 4 mm is completely gone and you can see this from your `
_ nakedeye. lbelieve that this was done by the Biove electrocautery. Ford had burn and

'dissected too much of my nose cartilage and this was noticeable. This too was not written
in my medical notes during the procedure. And, What lam upset about is how the other
ENTs’ are either being inf1uence by their insurance company. Who is representing Ford
and Murfreesboro Medical Clinic (hereinafter MMC) this tome is a conflict of interest
These doctors are taken my money and not informing or referral me to a place that could
assistance me with my illness. lnstead my blood pressure is elevating from 18 1/ 101 and
pulse being 107 and temperature is at 99.8 the least and the highest was 102. Along with
having sinus, fatigue and nasal pain 1 have been battle the fewer for more than sixty days

- and its scary that know one have an idea as to where this is coming from. The delay has
cause a fewer in which the ER and Sangeetha do not know where the fever is coming
from. Doctor Greaves from Summit thought 1 have been out of the country or in the
mountains. 1 told the doctor that I do not have a pass port 1 was diagnosed with sinusitis
and a rare mucus/bacteria infection. I have been told by Doctor Kelly A. Carden
(hereinafter Carden) that no doctor in Tennessee going to touch me within a ten foot pool.
The reasons the ENTs are over looking Thyroid enlargement that is present now but
never had this problem for thirty nine years until now and for no reason a biopsy has
not been order or medication or done a culture test to treat the thyroid mass.

The reason 1 knew this is because 1 have a copy of my CT scan and the radiologist
forgot to remove the final result notes from the patient copy. This scan was performing in
January of 2012 and Mark Williams was the one who order it. This mass has grown
bilaterally and is spreading through out my cervical neck and my symmetric
submandibular gland has enlarge and the sigificance of this finding is uncertain
what the radiologist said. Fail to laboratory test fir SS-A and SS-B antibodies since the
patient was treated with antibiotics and swelling could not be resolved by treatment with
antibiotics and antiphlogistic agents And fail to do a biopsy sample of the left
submandibular gland or histopathological examination But just not to compare my
other MRI, CT scan, and X-ray is just ridicules. And not to perform a biopsy is not `
right 1 continued to have mild left maxillary sinus mucosal thickening in which the
reason it is mild is because Ford remove more than 1/2 of my turbinate in which if you
look at my scans too it will look more than 1/2 remove and l was unaware that he was
going to remove them at all.

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Now, over the course of months, the forces of my skin were it was stretching
making a`knuckle popping sound without the sound being present The pain got some bad
that it became num and spreading through out my face. This was the only way 1 could '
describe the pain. 1 have never felt like this before in my nose so it was hard to explain to
the doctors what was causing my pain. 1 believe that something is pressing on my dorsum
columella. Ford was hoping that he would have got away with what he done to me and he
would have if 1 did not have pain in my nasal/dorsal tip. The removal of my nasal tip
cartilage and what ever else he removes made it easy for infection and pain to form. My
nose is two tones in color and my nasal is missing some skin on theright lower nostril. lt
looks as if it has been burn. This was not part of my informed consent, and 1 was aware
of this risk skin color change.

Now, a minority of surgeons use the open approach exclusively for all their
patients. Reasons for doing so may include a lack of experience with the closed
approach. lt is important to note that multiple grafts including columellar strut grafts and
batten grafts are sometimes more easily inserted through the closed approach. While the
open rhinoplasty incision generally heals beautifully in skilled handsz an unnecessary
incision is always best avoided.

This lawsuit brings about the doctors failure to,diagnose the injury of
postoperatively. A high level of suspicion for nerve injury should be maintained after all
nose surgery. Denial by the operating surgeon of possible injury delays appropriate
treatment and may complicate the physician-patient relationship If a nerve injury is
suspected, do not make a timely diagnosis, taking responsibility for the injury, and
referring the patient for physical therapy and possible repair by an experienced
peripheral nerve surgeon. 1 had an honest and open communication with these doctors
and l felt betrayal because they thought l this up.

Now I am requesting this court to Balancing the Eguities in this case. l am
requesting for an extension of the time limit or a delay in,filing because 1 would like for
this court to consider the facts, which might have justified a delay over the time limit and
decide whether l would have a Equity (fair play) in this court This was not under my
control. lam still having continued of care which is out side the states and in the process
of corrective reconstruct nose surgery.

Now, after the surgery in August 2011 1 still suffer with difficult breathing, plus
nasal pain, post-nasal drainage, loss of taste, smell, gasping while sleeping On lanuary
2012 examination revealed poor healing in the left maxillary sinus. My husband had to
take me to most of my doctor appointment and confront-me by kissing me in the effort to
relax me and turning the television station to my favorite show. And, now he and l have
to travel out of state in to get my reconstructive surgery perform. All of this has keep me
from deteriorate “Continuous representation doctrine”

l would be able to show that the defendant radiologist and on the unique
medical~legal issue it raised, the doctrine of continuum of care because these ENT 1
have saw here did not recognize the procedure Ford did and inform me that they would

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not do this at all. This lead me to search for a doctor that was out of state after calling
several doctors here m Nashville Tennessee told me that a Septoplasty' ls only a close
procedure not a open one. The only way you would do an open approach 1s when the
septum is severally deviated and there was no other choice to work on the septum.

ln my case my nose was only deviated on the left side of my nose at 3mm. However,
when there is continuum of negligent of medical care related to a single condition
occasioned by negligence, over a finite period of time. The allegation is that the facial CT
scan was misinterpreted when originally read. ln addition, none of these ENT doctors
notice that 1 had a maxillary bone crust. The test was misinterpreted again On’]anuary
2012 Thus, there are several negligent acts relating to one condition in a finite period of

' time. What is undisputed is whether the tests are separate and discrete as defendant
claims or a continuum of negligent treatment as my claims. lt was undisputed that my
MRI, CT Scans and X-Ray should have been compared to each other. l have been
telling each of these doctors to do this but these doctors just ignored me until l got feed
up and brought the paper to them in August 2012 when l gave it to Doctor Williams,
Vinson and Taylor

BACK GROUND HISTORY

.Iuly 03, 2010 A Maxillofacial CT without intravenous contrast Physician Ford did not
mention a maxillary crest spur or nothing was noted of my nasal cartilage was remove.
lt was noted from Southern Hills Hospital radiologist that 1 had nasal swelling and a
3mm leftward nasal septal deviation but there was nothing writing about the turbinated
swellm g lt was not mention in Ford medical finding during my surgery. Based on
information and belief, this oversight of Southern Hills radiologist department lead to
the crushing and removal of my maxillary crest spur. This was the first incident of the
radiologist dictation be missing critical information

.]uly 19, 2010 l went to Middle Tennessee Ear Nose & Throat they are own by the same

company, HCA. The only different they did when they got sued years ago, they chose to

change their name to TRISTAR. Based on information and belief, they (TRISTARE/
HCA) are back in business doing the same thing years ago. The only diffe;éent his is
they are making up for old time.

Whatl do know is that Turbinectomy later fell out of favor because of rising
concern over complication such as rhinitis sicca, atrophic rhinitis, and ozenam. The
enlarged nasal cavity resulting from turbinate resection was believed to increase nasal
airflow and reduce the humidifying capabilities of the nasal mucosa, resulting in drying,

1 crusting, and mucosal atrophy. However, the removal of turbinate surgery remains
controversial and again 1 do not Want to be a statistic.

.Iuly 15, 2011 Ford stated in his dictation that, he consider for me to have a reduction of
turbinates for improvement of nasal airway Again, Ford impression finding did not
mention a maxillary crest spur The reason why? ls because he did not o1 der any x- -ray
or he did not request any old MRl or CT scan on my nasal. What l do know is that all

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~~~ ' ~-~-' ________________________________________________________________________

ENTS do some type of X-'ray or CT scan before surgery. Ford did not tell me that he
was going to make an external incision underneath my nose which leads to a permanent
scare for the rest of my life. The purpose of Ford exploring in my nose to perform some
type of Open/ Basic functional Rhinoplasty surgery to fix my deviated septum Ford did
not inform Medicare/Medicaid with the incision underneath my nose to do a Functional
Rhinoplasty to improvement my nasal airway. Based on information and belief, none
of my post office visit was charge from October 20, 2011 and October 17, -2011 and
September 01, 2011 because Medicare would not be entitle to pay Ford for leaving a
foreign object in me. Ford removes the object on September 01, 2011 that morning. The
surgery for this do requires leaving a nasal packing in for a few days. The problem is
that Ford did not mention that he left a nasal packing and or a graft/stent in me. The
procedure/technique requires it.

1 witness this myself; it is against the law to charge for a mistake that happening during
any patient operation. Ford office visit was a total of $125.00 each time a patient enters
his room. 1l called Medicare and they told me that he did not submit a claim for those //
services other than on October 20, 2011 and maybe Au gust the 17, 2012. When Ihad a
Maxillofacial CT scan done on my nasal they check for sinus infection and anything else
that evolve the sinus.

Now, under our system of justice system the consent to treat: 1n 1914,` Supreme Court
lustice Benj amin Cardozo wrote:

"Every human being of adult years and sound mind has a right to determine what shall be
done with his own body; and a surgeon who performs an operation without his patient' s
consent commits an assault for which he 1s liable in damages This is true except in
cases of eme1gency '

Another .Iustice Cardozo' s wrote that strongly Worded decision gave patients real
but still limited power. Although doctors at the time were required to get permission
from patients to perform Surgery, they were not required to explain the potential risks
Decades later the courts have declared that patients have a right not only to say "yes" Or
"no" but give meaningful consent, which can be given only after all of the potential risks
and benefits of a procedure are explained to them. But in my case Ford did not inform me
that of a partial turbinectomy could lead to the development symptoms of atrophic
rhinitis. They called this Condition "empty nose syndrome" to depict how unnatural
these noses looked in CT findings and upon physical examination Ihave emphasized
how negatively this condition had affected the quality of my life and sense of Well
being and my nose has worsen over the year, which has cause damage and wear and tear
due to the loss of my turbinate protection, as there was no other cause that could explain
this. There is the controversy with removing turbinates. And 1 did not want to be part of
this debate. l do not know if Ford done a spreader grafts to open up the internal nasal
valve to make breathing easier. The whole goal is to widen the nose and open up your
airway. Ford diced my rib cartilage, the problem is that when he crush my nasal
cartilage and bone he left no support their. ldon’t believe he use a strut or graft Ford
problem used old crush cartilage to build the septum and nasal tip support Ford did not

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use any thing solid to protect my nasal septum. Ford did not weigh his option. The
reason l think Ford did not use a graft is because he do not have the level of expertise and
training to proscribe the right graft to used. lthink that Ford does not have experience
with synthetic grafts and he limits his practice Doctor Ford determines the type of
procedure should have been the most appropriate for me not for him.l

The unethical and moral behavior 1 have witness from these doctors such as Sangeetha
told me that Ford was going to cover up the indent of him leaving the left nasal packing
in me. Sangeetha told me to just let it go. 1 told her 1 will not let something like this go.
She and Carden both told me to go back to Ford knowing that 1 did not want to go. She
(Sangeetha) wanted me to do the same thing Carden wanted me to do but they did not
mention the advise they gave me to do. But she did not but the problem is that she too has
personal interest in this case they both was building up my medical record to try to
support their colleague and this was why they should continue to take me as a patient . lt
was a conflict of interest and their action went beyond a patient and doctor relationship
Too delay me from get the medical help 1 truly need. Doctor Ford is her son’s doctor.
She keep saying that her other patient did not have this problem 1 was having. l asked her
did they have a external incision from a close procedure She said that she was not for l
use. This was why l asked her to compare their medial records to mind and l would have
betted that l was correct l told her this is a conflict of interest and she said no it wasn’t.
And this is why her judgment would be one sided and defensive and this made my care
more difficult to the point 1 brought a friend at my last visit so she can see it for her self.

Based on information and belief, 1 think all these doctor have State Volunteer
Mutual Insurance Company as their carrier this was another reason for finding outside
doctors. What l did not know is why these doctors here would not perform this type of
Setoplasty surgery and would only verbally tell me this and did not put this
information on my medical record. lt is uncertain this information was not in my
medical record 1 was given a brief summary as to why they would not do a surgery like
this. lfelt that everything that is discussed in a doctor’s office visit is not document 1
witness this for myself. There have been doctors that do selective listen and Ford is one
for them. What for problem did not mean to do is that he adjusts the way my nature
warm, moistened and filtered way of breath out of my nasal.

This complaint demonstrates how widely ENT surgeon’s opinions and approaches
vary, sometimes even Contradicting each other. This is what happens to me, Ford choice
to do a dorsal augmentation alone with the other multiple procedures and diced my
cartilage; soft tissue was not of my consent What Ford did was trying to contradicted
what he Was doing and hoping for a better alternative to correct the septum. Ford
uses my crushed cartilage for my nasal tip and did not preserve my cartilage for testing
during or for future surgery to a pathology lab..

lts is possible that Ford could have done 400 nose surgery in a year or two but
a high number does not mean he is better then someone who done less surgery in a
year. Ford does not worry about how much nose surgery he done instead of doing longer
procedures on the nose he is being concerned with the quantity instead of the quality of

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his work. Morselization is the crushing of the deformed septal segment so that it can
heal in a straightened position The disadvantage of this procedure rs when you
morselization the cartilage_ and bone it would make the nose weak effect upon the
cartilage and the unpredictability of the result The extreme problem with this technique
is that you can not see any of the crush cartilage on a MRl, CT scan, and X-ray.

On July 15, 2011 1 done my pre op blood work for my surgery for August 10, 2011, the
test show that l was anemic but no one from Ford office called, wrote a letter to inform
me on this illness and inform me how to take care of this problem At this time Ford did
not run any Thyroid test at in 2011 at all. But on my last visit with him on May 24, 2012
he stated that he gave me medication for this illness but he never informs me of this
matter. l told him this in back in May.

August 1, 2011 Went to Murfreesboro Medical Center Surgi Center signed rn and gave

information to nurse got undress and vital signs for before surgery The surgery got reset
for August 10, 2011 because 1 at ate a 1 inch of muffin.

August 10, 2011 Informed consent: code 30520 repair of the nasal septum excise of
inferior turbinate 30130 some how work was done on my anterior and posterior was
deflected and resected cartilage was crush too. l was build for a 30140 for a
Turbinecdtomy in which 1 was not aware of this. Ford removes or cut my turbinate. lfv
Ford would have told me he was planning to l would not give anybody permission to
remove turbinate without being told everything he was going to do. This has effect the
way 1 breathe even though my nose is nice and wide my breathing rs not the same this rs
why 1 am still on the sleep path machine still today. The surgery was suppose to correct
the way oxygen enter my body at night

The problem is that Doctor Ford never told Medicare/ Medicaid and I that he was
performing an Open Rhinoplasty approach for a Setoplasty. lf he did they would not
have paid for this operation They would have called it incidental/ experimental or just
not medical necessary. Ford had removed my maxillary crest spur (bone). Ford did not
state this in his finding on my operation report or did he told me that 1 had a bone spur
and morselize (crush) them. 1 was never told that he was going to remove cartilage and
bone from my nasal tip and he did not put the in his dictation report during and after
surgery. Doctor continues to leave out detail information about my operation Ford
behavior prolongs my illness for over a year because he was not in detail on the operation
report instead drafting a detail comprehensive medical operational transcription Ford did
a small SOAP impression of my procedure

. 'My full consented brings respect, and good treatment plans, but, hiding
information from a patient is just unjust and wrong. The reason l believe Ford done a
open Rhinoplasty because with a external incision was made underneath my nasal and
none of the doctors 1 saw any of them wanted to inform me of this. They took 1 did not
understand why Ford done this technique for a Setoplasty surgery. Based on information

‘ and belief, there should not be any incision underneath my nasal period for the

operation I had done. And there should not have been any work done on my nasal tip

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at all this is a total a different procedure lf Ford never open me up from the get go 1
would not be having this problem with my dorsal nasal tip. My consent did not give Ford
the free-will to do as` he please with informing me of what all he was going to do. What
we now know for sure is that we do not know what all Ford did until l they reopen me up `
and 1 film the operation

Ford did the external approach which allows the infrastructure of the nose to be
completely exposed and accessed. However, 1 did not agree to this. What l do know
Ford done this technique to allow him to be more precise surgery and is generally
preferred when performing tip work. What 1 know after researching Ford made the
incision in which he felt was a small sacrifice for me (the patient) but 1 did not want a
scare on my face period.

Now, l called the both medical boards about Fords medical license in Arizonian
and lllinois to check to see if Ford a license from a Board Certified Rhinoplasty Facial
Plastic surgeon or Rhinologist he is not l then check to see if he has a double board
certified facial plastic surgeons certificated he does not Ford may have the passion
and artistry to do Rhinoplasty but the problem is he does not have a sub specialist or
techniques innovations in plastic surgery or facial plastic surgery, or Plastic and
Reconstructive Surgery. However, Ford been advertising himself as he was one Ford
only has one specialty and that is a General Otolarvngologv-Head and Neckfsurgerv
Ford is an older surgeon and has been grandfather in for certain certification but Ford is
taken advantage in which 1 believe all surgeon should have continuous education because
things|change with time

v But the problems stand that the polysomnographic result show that l still needed
the CPAP machine 1 have the same problems with my breathing sleeping with a CPAP
machine Ford had to use a packing the nose with cotton - but is rarely necessary nasal
congestion, mouth breathing, dry mouth, or a reduced sense of smell chronic nasal
obstruction may include nosebleeds, recurrent sinus infections, sinus pressure headaches,
and sleep disturbance When left untreated, these symptoms can eventually give rise to
more serious manifestations of chronic nasal dysfunction including insomnia,
hypertension, obstructive sleep apnea, and even heart disease

" functional nasal surgery involves surgical treatment of the internal nasal passages
without alteration of the outer nose this is why l do not understand why Ford bother with
my nasal tip. He was only to do a closed Setoplas£y, reduction of the inferior only
turbinate reduction But when he opens me up Ford fail to address the nasal Qolyg or
§§ that was in my nose and still in their today. Ford left them inside me because he
stated that he was not treating my sinus. The problem to this is this was the reason for
one of my reason for seeing him in the first place on luly 15, 2011. (See attachment) This
too could have been some of my nasal problem. Ford did not touch or dictate that l
had a nasal polyps or cyst he fail to mention this too on my report The cyst/polyps had
been inside me since 2006 and were never remove or left on its own Ford did not send
this or other tissue sample to the pathology lab to see if it was benign or not. Sometimes
the cyst/polyps can cause obstruct nasal passages ln mild cases, the removal is

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straightforward but the probability of recurrence is often high. Aggressive allergy
treatment especially fungal allergies, often reduces the recurrence risk. Ford just over j
what was staring him right rn the face this was a clear signs 1 was suffering with science
infection all this time

Again, l am filing this Medical malpractice/ negligent complaint with this a
motion for continuous treatment doctrine and to also show extraordinary cause as to
why this cause should continue ln the most famous is Gideon v. Wainwright, in which
the high court states that to have or provide lawyers to defendants who can't afford
a lawyer in state courts, just as the federal courts. 1 also feel this way because we do not
have the same playing field. lnstead, we have doctors in Tennessee they all have the same
insurance in which they would not right a medical letter on your behalf when they told
you they will they change their minds. The problem is that if 1 did not have this document
it would have been their word against mines or in your legal term hearsay. lnstead we just
need to live with the injury may it be mental or physical because we do not know how to '
draft petition and do not know the laws, This law suit is about principle too. This
company is so use of committing medical malpractice to the point the know how to get
away with it. They have done this in the 1980’s as mention in the above statement and is
still doing this to people today. The poor should not be given a pass for doctors do what
they want at will and thinks it is okay. Let’s say that Ford did not do anything wrong and
1 did not have everything document Are we saying that even though l gave Ford
permission to do the procedure he can go beyond my consent to open me up on a close
procedure? And, then leave a scare as if l would never notice let say that he did the
surgery great, We can not over look that Ford done extra things to me that was not
necessary and this procedure did not consist in opening me up at all because my nasal
was not deform severely and 1 was not inform that it was.

1 am'having reconstruction surgery to fix the medical error Ford done on me on August ~ ,
10, 2011. 1 have suffered complications, which require ongoing treatment And what 1 do
know is that the Tennessee general ENT doctors here does not recognized the Setoplasty
technique Doctor Andrew Hunter Ford (hereinafter Ford) perform. 1 would like to let the
record show that I am doing a documentary in this cases in which 1 am filming what
Ford done to me during surgery so that l the court and former doctors here can actually
see what Ford done to me Since these regular general ENT does not know, this would
benefit them and me and it would not hurt for this case to be one for the landmark case as
to how far would’a insurance company that represent the whole state of doctor in
Tennessee go to protect there interest on a claim. And, how the consist doctrine is take
from a doctor prospected. And how can a patient be abandon as a means of retaliation for
just telling the truth as to what happen 1 have been called everything other than the
mother of God for reporting this matter`to Mrs. Betty Rose and the patient advocate
lennifer the office manager (Based on information and belief the office manger name was
lennifer)

Now, what 1 know now is that mucus is a very necessary part of our human physiology.
When it becomes excessive it is often a signal that something is of balance and that this
needs to be corrected. Doctors must inform you of the procedure they will perform and

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' describe all the important risks. Since Ford intended to perform a closed Setoplasty and
never mentioned performing an open Setoplasty. The turbinectomy was never discuss 1
was under anesthesia so l did not have a change to tell for “no” then 1 woke up and he
have remove my turbinate 1 did not have a chance to give him an informed consent The
surgery was perform negligently.

My images scans did not reveal any damages in the nasal tip, yet Fords removed a large
amount of nasal tip cartilage in which it left no strong support So when Ford began to
under or over-resection my the nasal septum cartilage and remove the bone in the back of
my nasal septum cause pain when he crush the cartilage and then reinserted this back in
my nose without testing the tissue with a pathology lab is just negligent

j And with this the nurse that was on the nurse report did not do a recount of the
. cottons/sponge count after surgery. This too is negligent

August 17, 2011 was the first foreign object that Was schedule to come out within seven
days, was the two Doyle splint But the nasal packing was still in me on this visit l
continue to have agonizing pain which lead to infection and pain I kept going back for
several more visited. When 1 inform Ford of my chief complaint it would be ignored. l
began to have emotional stress alone with the acute pain that continued all the way the
second foreign object was the nasal packing device that was sewn in me The reason l
knew it was sewn is because Ford yank it out of my nose after being inside for several
weeks which was September 01, 2011. Ford then told me that he would not charge me
for the visit and he did not l look at him like he was crazy because l just did not know
why he told me this, and he did not inform me what he remove What Ford did was yank
the device out of my nose and place it in a regular trash can, somehow he got he out and
then place it in he long white coat doctor jacket and discard of the device with blood in a
trash can in the hall way.

August 25, 2011 1 went back to Ford office because 1 was having problems with my
swallowing and breathing. The pain was still going on but now my glands felt enlarge
and my neck was hurting. Ford ignored this complaint too. lwas having trouble breathing
even though my nose was nice and wide A gain Ford stated in his dictation that my nose
appears to be healing well. The letter head of this dictation was for the wrong location
from where 1 had the surgery and where lbeen coming to for my follow up post op
rnjury. ' \

September 01, 2011 Doctor Ford was negligent as a matter of law for permitting the
Nasal packing to remain in my nose after surgery for this long. ln laws, a surgical tampon
sponge or cotton was left in the nose following a Setoplasty and inferior turbinate
reduction surgery that was performed by Doctor Ford. Before the incision in my body it
was closed, a nurse'_s count revealed that nothing the sponge or cotton was missing
There was no X-ray done right away after the surgery. lf this would have occurred the
foreign object would have been seen this day. 1 have the X-ray/MRl done months later at
this time the»foreign object would not be seen Even the crush cartilage Ford use in my
nose to make the septum would not be seen on a MRl. Doctor Ford instead upon

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discovering the sponge several weeks later the fact remains that When the incision was
closed a sponge was left in my nose And when Ford done his dictation of he office visit
the letter head had the wrong address from where 1 went for my office visit lnstead of `
Ford writing the truth about the office visit he wrote something totally different This was
the day the nasal packing was remove lt was sworn in my nose and lhave the scars to
prove this too. Nasal scar is not noticeable not unless something did not heal well. This is
why you are able to see the scare inside my nose because he yanks this out that lead to
this particular scare lt is undisputed that Ford could not bill Medicare for medical errors
that occur during surgery. That was the real reason Ford did not charging me for the other
three (3) follow up visit

My family and l were never even notified of the medical errors occurred This is
extremely alarming how medical professionals can get away and have already gotten
away with committing malpractice by such means. Most medical professionals would
never commit such acts, the fact we know it has happened should lead to changes. 111 my
case the change began on May 24, 2012 on my last visit, the clinic was having their
' entire patients’ to sign a form of privacy act and to inform us to where to file a medical
complaint This was not in my record prior to this date because they never gave us this
information until then

Clearly, my medical record was not safeguarded by Murfreesboro Medical Clinic and
there risk manager team when this event had occurred A record or pages of it has
disappeared part of the discovery process involves determining who had access to the
record And a list with the date and time on how many time a person or agent went into
my record lt is unacceptable for Doctor Ford to alter and remove medication, and
treatment he claim he given me from my medical record Murfreesboro Medical clinic
risk managers should be involved when the alteration of medical records is discovered
And a third party should be involve as-well Doctor Ford had tampering with my medical
record by adding to the existing record at a later date without indicating the addition
is a late entry, placing inaccurate information into the `record, omitting significant facts,
dating a record to make it appear as if it were rewriting at an earlier time

Since fraud has been committed The Statue of limitations should be extended based on
the premise that fraud has been committed 1 am having continued care from a post op
in which lam having corrective reconstru'ctive surgery to fix the problem. Plaintiff
argued that in the Pisel v. Stamford Hospital case the rewriting of medical records or
the destruction of pages, sections of an entire medical record creates a strong suspicion
that the information in the record was so dg@ging that it had to be concealed

Ford began to alter my medical records intentionally to altered and lose
documentation for to conspire and to commit fraud this “aggravated or outrageous
conduct” can result in the granting of punitive damages. But to add to an existing
record altered, falsified my medical record which is a crime for purposefully to destroy
my medical record for the purpose to cover up medical malpractice Ford and his
agent and or employer violated my due process wrights for the purpose for me to lose my _
opportunity to file a medical complaint against him (Ford) and the clinic. 1 went back to

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Ford because l was still in severing pain and 1 was told by Sangeetha to go back even
when 1 did not want to. This is when Ford felt that he should begin to back date his
dictation ln Williams v. Young, 258 Ga. App. at 824, and 575 S.E.2d 648 Following
remand, the Court ruled that Young's claims were therefore barred by the statute of
limitation and the used to alter the statute of limitation with regard to the continuous
treatment doctrine

ln order to deceive or mislead any person as to information including, but not
limited to, a diagnosis, test, medication treatment or medical or psychological history,
concerning the patient Medication for thyroid treatment in which he never inform of
until May 24, 2012 nearly a year later. Destruction of evidence is a crime and so is
tampering with a witness. Doctors seem to get preferential treatment from the courts.
To show fraud in obtaining your consent or in concealing the effects of medical
malpractice punitive damages are not covered by the doctor’s Ford malpractice
insurance ' `

For instance, Ford should be brought up on federal charges for providing
inaccurate information to the state of Tennessee Medicare department for falsifying of
records lying on the type of procedure he was performing l believe that doctor Ford was
charging Medicare for services that he should have never received Expressly the Open
Setoplasty in order to make more money from the government insurance that he should
not have The assault and battery charges (for performing the procedure without my
knowledge or permission this behavior seems as a “Norm” at this facility. lt is a fact that
Doctor Ford or his agent/staff has tamper and or altered my records. Miss Kelly she went
on a defensive mode ltold her this too. She is a patient advocate but she works for the
clinic and her judgment was clouded when lwas speaking to her. Her action lead me to
believe that everyone who come in this office and complain is being target as the criminal
and they too are being ban for practice their medical rights. But they use this retaliation
tactic as a mean to get rid of a patient

Ford improperly caused me to continue care to treat the physical pain and mental
anguish, the possibility of loss earning capacity if any and for physical impairment and
significant medical expenses. 1 was told that 1 was lying and that they where going to ban
me from the clinic. 1 called Middle Tennessee Clinic back to set up an appointment with
them to ban me just because they are connected with them. 1 am being abandonedfor
Middle Tennessee Ears Nose and Throat clinic in Smyrna office with out a letter telling
informing of this too the reason being is that these doctors work with Ford this is causing
me such harm to find proper medical care in Nashville Tennessee. '

September 08, 2011 l needed to see my PCP ever thoughl have not met this woman 1
always been seen Sangeetha Mc Collum PA-C. lhave not see my PCP at this location
since 1 been there for years and 1 did not know why she was never their.

October 07, 2011 Two months after the Sepal surgery with Ford, l'went to have a

hearing test done at Vanderbilt Bill Wilkerson Center because Ford continued to ignore
my hearing problems and lreally needed for some one to listen to my complaints So l

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went to Vanderbilt and they done a hearing evaluation during these office visits 1 was
diagnose with bilaterally hearing lost and in need for hearing aids. Ford is a ENT their
as no reason for him not believe me again as to my illness. J ust to let medical concern go
is another form of negligent for failure to diagnose and delay in treatment

October 11 2011 1 then met Doctor Vinson in which she too is a General ENT to get my
headache and nose pain with chewing, ear, aching dull num, and anxiety. Vinson thought
1 may have TMJ .

October 28, 2011 Went to see my PCP and it was Sangeetha V. Mc Collum P.A. lbeen
trying to see my PCP but for some reason Maria/Mariah continued to schedule me with
Sangeetha instead of Doctor Retia Nirankari Agarwal M. D. Sangeetha has been working
alone with no supervision And this too has delayed my medical care 1 felt at this point 1
needed to see a MD in stead of a nurse 1 can’t believe Sangeetha could be like, putting
me off for days while 1 am having trouble'with my condition, and this is something that 1
can never understandl Since, she had been working alone since 1 knew here at this office
So now 1 am suffering because of the mishap of their colleague that shouldn’t have
happen.

December 21, 2012 went to ER for Vomiting and fatigue and sinus. 1 was diagnosing
with vomiting and Hypokalemia potassium.

January 10, 2012 Ihad a cervical CT images done that was order by Mark Williams
(hereinafter Williams) at Southern hills with a different reading done from the radiologist
this could be a sign of cancer cells but For Mark to just ignore these signed and not
explain the reading to me is ridiculous and not to do more testing as a ENT physician is
just negligent William did not inform me to where to go and where to get treatment for
the now Thyroid problem. 1 have obtained this illness because of the delay of treatment
from these doctors. They kept telling me that the swollen pain 1 was feeling was in my
head. »

1 should have been referral to have a chance to shrink the bilateral lymph modes or
malignancies involvement in my throat and cervical area. But to just have me not be
control my swollen for this period of time is just insane My Thyroid gland
homogeneous has enhancement and there was mucosal thickening along my lateral
aspect of my left maxillary sinus With cyst or polyps retentions Ford never order any
biopsy he would had notice this too during the surgery. But he was hoping that the cyst
or polyps would just go away. Ford was expected to do a wait and see game to see what
they would do.

In my case they were just getting bigger. 1 then have an uncertain findings of a
bilateral symmetric submandibular gland enl_:_i_l_'_gement significant this was the third
negligent that Ford and the other ENTS had Ignore because they felt 1 was making this all
up. 1t is very frustrate when you have speech impairment and misjudge what you telling
them as a lie This problem is part of my disability. But 1 still should have gotten a
referral from some one who deals with the submanidbular gland. '

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Doctor Cherdak wrote in my record that the pain could be more psychological
then a real feeling. VWhat 1 do not understand isn how is this part of her medical expert as
to the way a patient feel mentally"when she is not a license physiologist And she never
told me this she just insert this information in my medical record. Today it was truly a
real complaint The scan speaks for it self.

NeXt the radiologist had left the final report result of my neck on my disk when
1 went to pick this up. So how the information on the radiologist was left on the disk and
this was how 1 was able to get this.information. Some how, the information was left their
by mistake and 1 was able to retrieve it on my disk to even though they do not leave this
information on disk for the patient to see what they wrote to the doctor. Based on
information and belief 1 also notice that mytooth is missing its right maxillary
premolar and my left maxillary molar is absent T he radiologist report 1 been getting
is missing large about of information This is why it would and should be good practice
to compare the other CT scans and MRI readings so that Medicare/Medicaid would not
bill for double services v

May 21, 2012 went the ER again about my Sinusitis and pain was given antibiotic

May 24, 2012 went to my last visit with Doctor Ford he admitted to me that he treated
me and diagnose me with thyroids but the problem with this too is that there Was not test
ran on me for Frce Thyroxin Index T4, TSH, T-UPTAKE last year. Ford said that he
treated me and gave me prescription of this medication since August 8, 2011. 1 want to let
the record straight There is no medication that 1 was given'to prevent or control my
thyroids and 1 would be able to give this information to as proof from the pharmacy.

May 25, 2012 Vinson treated.me for post op pain a typical facial pain

May 29, 2012 Not for sure What day of the week it was but 1 am sure it was the last week
of the month. Mrs. Jerinifer Wilson (hereinafter lennifer) told me she was going to cancel
my up coming appoint with Doctor Ford and the Neurolo gist who was a women
physician which was schedule for July 19, 20 12 because they was being me from the
practice 1 asked her why and she said since Ifelt that Doctor Ford was not helping me
So now she is my psychologist too. The problem is that 1 was given a reason as to why
but when the letter came to my home nearly a month or so later it did not mention the
discussion she and 1 had. The letter was vague written like a standard letter they address
to the entire patient who makes a medical allegation

Apri109, 2012 Doctor Kelly A Carden once an Internal Medicine, Sleep Medicine,
Critical Care Medicine, and Pulmonary Disease. This reason for this complaint is because
of the mishandling of my medical care and her personal interest with Doctor Ford. She
had written in my medical chart selecting this she wanted to address in their instead of
everything we talk about What 1 did not understand why she instructed me to go back
and tape record doctor Ford ever though 1 did not want to go back to his office lf 1 did
not go back 1 would not have been ban from the clinic. She told me that he was the only
one that knew what all that he did to me 1 told her know he did because he has been

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forgetting what 1 had come there for. Ford remind me of my grandmother when she got to
old that she began to forget things. She also mentions things in which she could have
gotten this from me other than Doctor Ford and that when she mentions that 1 had surgery
on my anterior turbinated.

April 10, 2012 Doctor Danielle Sherri Brain MRI W/O contrast shows normal MRI other
then tiny mucous retention cyst in the right maxillary sinus, put she wrote it was likely
an incidental finding Again, if they would have look at all my MRI, CT scan and X-ray
like 1 keep asking them to do and this is what they suppose to do is compare images.
They would clearly know how much 1 am indeed suffering But the lack of them not
knows only because they are being just lazy is not good because it is delaying my care 1t
would not have hurt them to request the images because it would not have cost them
anything either.

April 11, 2012 had nose bleed when 1 saw Sangeetha because it wanted stop 1 was told 1
had some nose damage prior to this appointment Still having problem with my nose and
explain this to Sangeetha 1 was treated for hypertension and anxiety

» June 20 2012 X-Ray of Temporomandibular Joint Bilateral (hereinafter TMJ) came back
negative for TMJ '

.]une 11, 2012 Diagnosed with Chronic Sinusitis but 1 was told on 07-15, 2011 that if 1
do not get this surgery done it would be chronic infections but it the other radiologist
and ENT doctor pull these images they would have earn to that decision.

July 17, 2012 1 receive a vague letter from Joseph A. Peay (CEO) that was a standard
letter sent to me by Mrs. Betty J Rose (hereinafter Rose). Next, Ithen fax a letter and
certified United Stated Postal mail. A Notice of Intent to file claim was sent to her
(Rose).

Now, Mrs. Rose told me a different story for why 1 was ban from the clinic. She told me
that Jennifer told her that 1 was rude to her over the phone and this was the reason why. 1
felt as if 1' was being prank because they both were telling me two different stories. She
called me a lying and so they went on and cancel my 1 uly 19th this ban was not done
correctly. They wrote a letter to protect their interest but the legal question lye as to how
they going to ban me when the letter stated after 1 uly 30, 2012 1 would no longer be a
patient of their. This conversation was document as to what 1 was told and is different
from what both Jenifer and Rose told me this was only done out of spike and envy and
retaliation

July 16, 2012 went back to Vanderbilt saw Dr. Kimberly Vinson, she then made a copy
of the procedure that 1 brought in the office this day from my transcription of my
procedure Ford did on me, Vinson then told me that never perform a procedure like this
one before 1 was informed that what Ford another object is still in my nose and this was
the problem. Come to find out if crush cartilage that is reuse and replace in your nose is
also know as a foreign object And Vinson said that know one would be able to see this

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in any MRI, CT scan, or X-ray. 1 then told Vinson that Ford wrote in my record On May
24, .2012 that this was all supratentorial factors that 1 suffer from taken the medication
Levaquin. This medication leads to side effect illness which Doctor Ford ignored.

The surgery Ford performs is unpredictable procedure this should not be done
this way because of the very reason. Doctor Kimberly Vinson stated that she could not
explain the medical records being tamper by Ford but she did said that it’s not suppose to
be like this. Dr. Vinson also stated that she have to get With other physician who is her
partner at Vanderbilt because she have not ever perform a procedure like this one for a
Setop_lasty. Dr§ Eugene Kern, who coined the term "empty nose syndrome", claims that
this condition often gets worse over the years through increasing wear and tear of the
remaining mucosa in the nasal cavity, because the lack of turbinates leaves the
mucosa overexposed to unduly patent currents of unfiltered, and under-conditioned
airflow on every inspiring breath. But the problem with this that some of them are not
familiar with the “Empty Nose Syndrome” My images look empty this is how Stern
came up with this in 1990. The Ct scans look empty to the naked eye and this is how
they came up with this name for the empty nose syndrome or Wide nose syndrome My
nose is now nice and wide inside This is one of the side effects from the surgery too and
they did not inform me of this either. 1n fact, when the loss of turbinate tissue from
which the nasal mucosa can not recuperate from the daily onslaught of direct airflow.

July 22, 2012 Today 1 was waiting on Dr. Kimberly Vinson to call back to give me the
answer on what Doctor Ford did. Ihave not heard back as of yet. 1 was having high fewer
and temperature too.

August 1, 2012 diagnose With rare bacteria infection and sinusitis 20,000 of mix
bacteria and mucus which is a rare condition with my blood being low. Doctor Greaves
stated that in years that he practices him never saw anything like this before When 1 told
Sangeetha from my PCP office she laugh at me and through it was funning. 1 told her that
1 could not get my injection for my neck until all of the infection is gone She then told
me that she just going to say that my infection was gone in which it has not left my body
just yet. 1 was having a high few and temp this day too.

v August 6, 2012 was diagnose with swelling mass lump in head and or neck area 784.2
but was not told anything about this illness. The problem with this diagnose is that 1 had
this problem since 1 anuary 10, 2012 but Doctor William lack to tell me about it 1 did not
get any treatment for this at all. No follow up nothing or anything and post op pain
338.18 on August 06, 2012 it was discuss but 1 was not told what to do about it at all he
told me it did not have anything to do with my surgery and that What Medicare 1 is
unaware about the true type of Setoplasty being perform. An open Setoplasty by means
of an open Rhinoplasty approach to address the septum and the problem with my
septum my have been unnecessary The technique Ford did is debatable and _
unpredictable What Ford fell to do is to address this to Medicare / Medicaid and me.
Especially if it effect my nasal tip if the procedure is going to cause a noticeable scar and

, the only reason it may have been noticeable is because of the way it was sewn back

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together and this would have caused the scare to heal wrong this is how Iknew about the
external incision.

August 12, 2012 20,000 of mix bacteria and mucus cause some elevated of my blood
pressure and fewer and pulse and this was strong evidence of an infection At home, 1
experienced severe stomach pain, fever and chills and 1 returned to the hospital While in
the hospital, my blood pressure was elevated up and down and this was an unknown
bacteria fungus infection. 1 continued to experience severe upper stomach pain.
Sangeetha who performed the vaginal prep smear and she stated that everything was
normal. But during the test she did not check my stomach.

Sangeetha failed to rule out other bacteria that could have been spil.ling into my salivary
gland and maxillary Sinus over a period of time causing unknown bacteria infection 1
endured pain for months’ the pain that<lead for me to go too the ER and they too could
not tell me where my fever is coming they just did not kn.ow. 1 have presented myself to
my family doctor with history of nasal drainage and fever for months now for which 1
took an over-the-counter medication and this only work temporary. lnstead, my neck
continued to swell as a result of the bacterial infection. What 1 do know is that my
anatomy was not like Ford other patients. 1 truly believe that Ford open up his entire
patient up for a Setoplasty. What 1 do not understand is why no one done a nasal culture
for fungal and bacterial infections, skin testing for TB, Fungi and anergy, VDRL,
FTA-ABS, CANCA, biopsy to rule out autoimmune.. Since we do not know how large
the lymph nosed node 1 cm in diameter is considered abnormal and should be consider
for biopsy if it was diagnose with uncertain. But was never done 1 done all the leg work

__myself while 1 was sick and this was the hardest then than having a baby.

1 believe that my agreementhas been breached by failure to diagnose a medical
condition, the doctor a should be held liable This was a missed diagnosis that should not
have happen 1 had to be a advocate for myself it was just to much with what 1 was going
though. These doctors done selective listening, and there is no excuse for this. Ihave
been injured by a medical provider, who should have been able to diagnose their
condition but failed to these doctor simply fail to explore all the possibilities, to
diagnosing my illness. Now 1 am seeing a oral surgeon tomorrow he rs going to treat the
swelling of my throat

August 6, 2012 1 saw doctor"Mark Williams (hereinafter Williams) for post op pain told
me that 1 have every right to know what is going own with me. To tell him the problem 1
had with him and other about a problem that truly happen to me and ask why was they
treating me.this way. 1was owed an apology.

August 6, 2012 Doctor Vinson called to inform me that she gave my medical record
operation transcript report from Ford procedure to Doctor Reis (hereinafter Reis) who is
a Board Certified Rhinoplasty Facial Plastic Surgeon informs Vinson that 1 did have a
reasonable complaint for the pain 1 was experience Another problem is that Ford is not a
Board Certified Rhinoplasty Facial Plastic Surgeon. Ford is just a General ENT that
could perform certain surgery without a subspecialty license But to mislead a patient to

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believe he is a Rhinoplasty surgeon and then perform Rhinoplasty and open Setoplasty or
what every Ford done to me during this surgery have cause me to have corrective
surgery. ,

August 9, 2012 1 went back to 1 ames E. Taylor 1 rt (hereinafter Taylor) after surgery, he
too is a general ENT but he consider himself as a behavioral health doctor board eligible
He told me that 1 still had infection 111 my nasal tip where Ford inserted the crush
cartilage Doctor Taylor had a medical student who was an oral maxillofacial surgeon.
Taylor did not ask me was it okay for the student to be` 111 the room? Taylor felt that 1
need to see a physiologist only because he did not believe that Ford left a nasal packing
in my nose and that Ford would not have done surgery on me without doing a X-ray
before the operation So this was how Iknew that Ford was supposed to do this put as
you can see he did. Taylor told off Ford because 1 was unaware that you suppose to do
this before surgery. These confirm what 1 knew all along. 1 brought my husband to this
visit because Doctor Taylor touches me inappropriate on my first visit this was the reason
1 brought my husband to this last visit with him But Doctor Taylor tune change when 1
gave him the medical transcript Ford did on me and then he told me that he too would not
do a Setoplasty like Ford done to me But he would not tell me why he would not do it
this way.

Next, 1 got X-Ray from Doctor 1 ustin Ard, D.C. (Hereinafter Ard) this was the
first time 1 meet him. 1 normally deal with Josh. 1 got x'-Ray of my neck and back. 1 asked
about the billing break down he would not give it to me He wanted to get some type of
loan instead of Medicare paying for the treatment 1 believe to pain for the part B
Medicare would not pay at'least 80% but he wanted me to pay this with cash. It was-
around three thousand dollars. And, he told me thatI would not be able to get a copy of
my ultra should of my neck and back on a CD because it belong to him. He told me this

j was the Tennessee Law.

August 7 , 2012 1 then called and spoke with Mrs. lackson about the experience 1 had
with Doctor Taylor. She then told me to speak with Mrs. Sharon Halpern. She told me
that she would talk with Doctor Taylor. She did right after 1 got off the phone She told
me that Doctor Taylor told me what to do. She told me that she trust her children with
Doctor Taylor. 1 felt that the personal interest that other doctors put her trust her collogue
is strange when you have proof on how you was being treated in front of students I.felt
that Doctor Taylor behavior was inappropriate and it was done in front of the student

August 9, 2012 1 wrote a letter and send MRI, CT scan too doctor David Slavit
(hereinafter Slavit) who inform me that he can do reconstructive surgery to fix my nose
He asked me why this doctor or Doctor Ford do a tissue sample 1 told him 1 just do not
know. Slavit told me that there are things could have done But none of them done that
but treat me with antibiotic, this man told me that he could fix my problem in thirty 30
days in which these doctor could have done in a year.

August 10, 2012 l wrote letter for Intent to Sue_ to Doctor Kelly A. Carden

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August 03, 2012 1 had a follow-up for my pain with Doctor Lee.

x August 08/30/2012 1 went see 1 essica Fay APN Nurse Practitioner at the Minute Clinic
in Nashville because my office was close She told me that she could not treat my sinus.
But 1 told her that was fine because 1 was not their for my sinus. 1 wanted to know what
fungus 1 was fight because 1 was having problem with breaking my fever. What 1 meant
is that once the antibiotic is out of my system the fungus bacteria returns. 1 am fighting
with a temperature high blood pressure, high pulse She (Jessica) went to the medical /
book to see what fungus was the closes to what was on my neck. But, she (Jessica)
informed me that it Was notl@g she have saw or recognize or saw before So she said
that since it was not in the book. 1 was going to say it was a Dermatophtosis on my body. '

October 3, 2012 went to the oral surgeon Doctor Pitts (hereinafter Pitts) and he
recommend that 1 see Doctor Reis personally instead of Vinson translating messages back
and forth from her patient 1 told Pitts that 1 going to do a document and this case need to
be a case study for the Vanderbilt students since this case is one of a unique one He told
me to come back because he will take a picture with me so that it would be document for
the story. Pitts also say that Reis would be the one to fix this but 1 told him since Vinson
did not recognize the procedure that 1 was scared to let them do it with out filming this.
He began to laugh and 1 told him after all this 1hope 1 be able to laugh with him. Future
visit will be schedule 1 also told him that 1 have appointment with doctor appointment
Friday in Chicago. He then insists that 1 see Reis. Because he knew lam in sever pain
and he believes that this is coming from the surgery back in August 10 2011, he told me
that 1 have sinus infection in my maxillary area and this is why the lymph node are
swollen. When 1 left the office 1 called to set this appointment up. To be continued. ..

WHEREFORE 1 pray for relief:

That this court grant my motion medical malpractice/negligent and continue of
` care doctrine to be delayed do to the fact that 1 need to have the same equal balance
playing field as the defendant would have And, 1 am having corrective surgery. 1 need to
be able to have an attorney to handle this case 1 did have one look at this matter. He '
informs me that his nurses do not recognize the surgical technique Ford did on me This
delay has continued to causing me and my family too much harm and money wise and
mentally. This court need to consider that this could be them having to go out of state to
find a physician that understands Ford procedure

A. Since Doctor Taylor verbally express that in the 30 to 40 years of his
practice he had never perform a Setoplasty like the one Ford done 011
me should have been writing in the patient medical record. Instead 1
believe it a doctor tells a patient something in the examination it should
be written in that patient chart The patient has the right to know why
he would not do this type of technique Order the plaintiff to draft a
§ubpoena requiring this doctor to testify on what he told the plaintiff

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B. Grand a delay in filing because the patient is still extremely ill and in
desperate need for immediate medical care 1 have my visit to my
doctor in Chicago on October 05, 2012. And to grant the entire
defendant to be name in the complaints who are truly involve of my
rnjury.

C. Allow the Defendants to hand over all discovery document such but
not limited to his medical procedure of his Setoplasty and lnferior
bilateral Turbinated Reduction not limited to phone record from
Ju1y1,2011 until october 2, 2012

` D. That this case be heard by a jury of twelve (12) as a matter of law.
Since this should be there job to determine what is fair, just and
reasonable compensation for this Plaintiff and her family.

E. That this court gives the Plaintiff time to get all her doctors and expert
witness letter since she have to do this while she is still very ill. This is
taking away of my healing process but 1 need to get the energy to get
this all done

F. That this court found the Defendants guilty for the approximately cause
of the Plaintiff injury and that the plaintiff fear that she was afraid that
she was going to die if she could never find out what was truly wrong
with her. A doctor had told her she could die from this if the matter is
not dealt with. '

G. That this court find the Defendants guilty of the Plaintiff injury and she
be awarded Punitive damages in the amount of what the jury seems fit

H. That this court find the Defendants guilty of the Plaintiff injury and she
be granted Compensatory damages which consist of Econ_omic and or
non-monetary damages for what she have suffered, or is reasonable
likely to suffer in the future, loss of diminution of the ability to enjoy

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life’ s pleasures and as a result of the defendant negligence 1n the
amount of what the jury seems fit.

1. That the Plaintiff husband be granted Loss of Consortium for the -

injuries the Plaintiff husband had to encounter What the jury seems to
be fit.

1. Reasonable attorney fees in the amount of what the court see fit

K. That this court allows this case to first go through medication before

the extension date is complete

L. The Plaintiff is awarded what ever this court sees fit.

RESPE LLY SUBMI.TTED

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Shemeka Ibrahim
3916 Tea Garden Way
Antioch, TN. 37013
(615) 568-5046

Case 3:12-cv-01019 Document 1 Filed 10/03/12 Page 24 of 34 Page|.D #: 24

CERTIFICATE OF SERRVICES

1 Shemeka 1brahim am sending this Motions to the above Defendants’ by hand delivered
or United Stated Postal Service Nashville, TN 37013. On this day§of October 2 2012

RESPEC LLY SUBM].TTED

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f

Shemeka Ibrahim
3916 Tea Garden Way
Antioch, TN. 37013
(615) 568-`5046

Cc. State Volunteer l\/lutual Insurance Company

Stephanie C. Hatchet attorney

101 West Park Drive Suite 300

Nashville, TN 37027-5031 _

President Barack Obama Chief Department of Health and Human Services Rep.
The White House

1600 Pennsylvania Avenue NW

Washington, DC 20500 202-456-1414

Tennessee Department of Health

425 Sth Avenue North Cordell Hull Building, 3rd Floor Nashville, Tennessee 37 243
(615) 741-3111

Health Insurance Portability and Accountability Act (HIPPA)

Washington D.C. Head Department of Health and Human Services Chief Rep Leon
Rodriguez, Director

Office for Civil Rights

U.S. Department of Health and Human Services

200 lndependence Avenue, S.W.

lRoom 509F HHH Bldg. -

Washington, D.C. 20201<

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IN THE UNITED STATES DISTRICT COURT FOR THE MlDDLE DISTRICT OF

NASHVILLE TENNESSEE
' SHEMEKA 1BRAHll\/l )
Plaintiff )
VS _ ) Docket NO.

'DOCTOR FORD et al ) JUDGE

Certification of Good Fai_th
'Pursuant to TN. Civ. R. * 208.2(e)

The undersigned counsel for Plaintiff hereby certifies and attests that:

1:1 a. He or she has had the contacts described below with opposing counsel or

, Unrepresented party regarding discovery matter contained in the foregoing discovery
Motion in an effort to resolve the specific discovery dispute(s) at issue and, further, that
Despite all counsel’s good faith¢attempts to resolve the dispute(s), counsel have been
Unable to do so

,Description:

X b. Ihave made good faith but unsuccessful efforts described below to contact
Opposing counsel or unrepresented party in an effort to resolve the discovery dispute
have not spoken to me since the filing of the Intent to Sue notification 1 gave back in July
17, 2012. Based on information and belief, 1 believe the reason being is that 1 arn filing
this temporary until 1 get a legal counsel. 1 have been truly ill and this is the reason of me

being able to deal with this now. 1 am requesting this court to let the parties go through
mediation before the final draft of the Amended of these Motions.

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Description: Because 1 am representing myself one of the Defendant Kelly A. Carden did
respond and is making a mockery of the procedure and the new Tennessee law in v
responding to the lntent to Letter to Sue that 1 have submitted to her by faxed at
CERTlFlED TO THE COURT BY:

,%>

Shemeka Ibrahim Pro se

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September 28, 2012

Middle Tennessee District Court
Nashville, TN

10 whom it may concern

Dear Sir or Madam:

This letter is to confirm that l\/lrs. Shemeka 1brahim has been a client of our clinic since

November ll, 2011. She is being_treated for l\/lajor Depressive disorder and anxiety 7

directly related to her medical condition lnformation in her progress notes indicate that
her issues revolve around corrective surgery that she had and that she consistently
experiences a. lot of pain. The stress of her condition has also caused significant problems
in her relationships with her family. Mrs. 1brahim has been seen for therapy by Larry
Harrison and is consistent with her appointments

lf you have any questions or concerns please feel free to contact Mr. Harrison at 615 460-
4100.

Sincerely,

Melvin Ferguson, SLPE
Clinic l\/lanager

Excellence in Mental Healthcare

P.O. Box 40406 - Nashville, Tennessee 37204-0406 - (615) 460-4560 ~ FAX\(GIS) 460-4561

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Murfreesboro Medical Clinic
1272 Garrison Drive
_ Murfreesboro, TN 37129
615-867-8110 www.mmclinic.com 1-800-842-6692

Department of Otolaryrrgology

Patient Name: *
Chatt # -

*feturns for follow up on her septoplasty and reduction of turbinates performed 08-

10~ll. She is having some migraine headaches The nose is cleaned at this time Debris is
removed. All appears to be healing well.

1MPRnssroN
Healing well after septoplasty and reduction of turbinates.

RECOMMENDATIONS
l). Continue saline use
2). Return in four weeks for final check on healing.

Cc-: Dr.-Agar_wal

Electronically signed by:ANDREW FORD MD Sep 20 2011 2:38PM CST

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Murfreesboro Medical Clinic
1272 Garrison Drive iii Ci/ &VL/b 5
Murfreesboro, TN 37129 b ; Wwi"

615-867-8110 Www.mrnclinic.com 1-800-842-6692 ___
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Department of Otolaryngology

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Patrent Name: ' ~ 1 §§ "4- le

Chartzl)€A .~

 
 

F_"§,¢ returnsfor follow up on her septoplasty with reduction of turbinates performed 08~10-
ll. She is swallowing and breathing well. Debridement was accomplished at this time All
appears to be healing well. '

ll\/IPRES SlON
Healing well after surgery.

RECOMl\/[ENDATIONS
l). Return in one month.
2). Continue aggressive saline use l

ErectronicanySignedby;ANDREw FoRDMD sep 20 2011 2;331> 911 199 ‘l"l 5"(0¥\

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Case 3:12-cv-01019 _ Document 1 Filed 10/03/12 Page 30 of 34 Page|D #: 30

 

Comprehensive Visit ne LM/ bem head

 

Murfreesboro Medical Clinic
0
1004 N Highrand Ave :§)( ‘j Mi’i ry 12
Murfreesboro, TN 37130 l
Www.mmclinic.com Hm`) ibp
Patient:
EMRN: 339751 v
Age/DOB: 39/1\/1ar 14, 1973
ANTIOCH, TN 37013 z 7
Home: (615) t cases
Encounter Date: Aug 25 2011 9:00AM Work:

, ,_ _.;;,returns for follow upon her septoplasty with reduction of turbinates performed 08-10~
ll. She is swallowing and breathing well. Debridement was accomplished at this time All
appears to be healing well.

IMPRES SION
Healing well after surgery.

RECOMMENDATIONS
l). Return in one month.
2). Continue aggressive saline use

Electronically signed by:ANDREW FORD MD Sep 20 2011 2:38PM CST Q l (`L‘~Avt §lQnM’Q

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Consultatiorz Report

Murfreesboro Medical Clinic
1004 N nghlaud Ave
Murfreesboro, TN 37130
www.mmolinic.com

Park 5 :W_~§¢. ;"V¥;;;~ ,r_a_ : ~.'; - n Em» . ‘U 3 .
Age/DOB: 3 Mar 14, 1973 v Encounter Date: Jul 15 2011 9:30AM
July 19, 2011

Reita N. Agarwal, MJ)
Good Health Clian

625 N. Highland Avenue
Murfreesboro, TN 37130

RE; j ' FLMDOBQ '
Dear Dr.Agarwal;

1t was a pleasure to see your patient1 Shemeka Ibrahirn, in my clinic July 15, 2011. This 38~year-old female presents for
` evaluation of her.sinmba and §§r_s. The patient says she had swollen lymph modes in the r_i_;e_gk noted and she was placed on
some antibioticsl SEB"’says she thinks she might need a root canal that may'b‘e the problem’for her neck and ear discomfort

PAS_T MEDICAL I‘HSTORY/SUB.GER_UZS: Dilation and Curettnge times 2.

lV[EDIClNE ALLERGIES: NONE.

CURRENT MEDICATIONS: Clindamycin, etoclolac, fluticasone, Lexapro, hydrocodone, Di.ovan.
FAMJLY HISTORY: Signifrcant for hypertension srrolce, and cancer.,

R.EVIEW OF SYSTEMS: There has been fatigue, ehills, blurred vision, trouble with sense of smell, stuffy and runny nose,
shortness of breath, headache, chest pai.n, frequent urination, constipation, and weight gain.

SOCIAL HISTORY: Cigarette use none Chewing tobacco none Alcohol none. '

PHYSICAL EJ'CAMINATlON:

V1TAL SIGNS: Weight 250 pounds. Temperatcn'e 97.4° Fahrenheit. Pulse 76. Blood pressure 124/80.

GENERAL: Well developed, well-nourished 3 B-year-old female

HEENT: Ears: Extemal canals, tympanic membranes and middle ears are normal bilaterally. Nose externally is nonnal;
internally reveals left septal deviation with marked turbinate hypercrophy. Mouth and pharynx are normal.

NECK: Normal.

CI{EST: Clesr to auscultation.

CARDlOVASCULAR: Regular rate and rhythm without murmurs, clicks, or gallops.

IMPRESSION:
1. Septal deviation with turbinate hypertrophy.
2. Soreness in the right neck and ear most likely of dental source

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Consultation Report

Murfreesboro Medical Clinic
1004 N nghland Ave

Murfreesboro, TN 37130
www.mmclinic.com

Pati¢ 31 ' ..;...:1 cr :~1:: EMR’; _;.;:'._
Age/DOB: 39/Mar 14, 1973 _ Encounter Date: Jul 15 2011 9:30AM
Jury 19, 2011

Reita N. Agarwal, lle

Good Health Clinic

625 N. Highland Avenue

Murii'cesboro, TN 37130

RE: "" z _ ;:_49DOB§ #‘”'51 v

Dear Dr. Agarwal:

lt was a pleasure to see your patientl Shemeka Ibr_ahlm, in my clinic July 15 , 2011. This 38~year~old female presents for
evaluation ofhel.iiuuscs and ppg The patient says she had swollen lymph nodes iu the tjng noted and she was placed on
some antibiotics SH'e"says she thinks she might need a root canal that mey`b'e the problerrYTor her neck and ear discomfort

PAS_T MEDICAL l-HSTORY/SURGERIES: Dilation and curettage times 2.
murcmE`ALLEncrEs= NoNE.

CUR.RENT MEDICATIONS: Clindamycin, etodolac, tluticasone, Lexapro, hydrocodoue, Diovan.
FAM]LY HIS’[`ORY: Signiticant for hypertension strol<e, and cancer.

REVIEW OF SYSTEMS: There has been fatigue, chills, blurred vision, trouble with sense of smell, satuny and runny nose,
shortness of breath, headache, chest pain, frequent urination, constipation, and weight gain.

SOCLAL HISTORY: Cigarette use none Chcwing tobacco nonc. Alcohol none.

PHYSICAL E§U.MINATlON:

V1TAL SIGNS: Weight 250 pounds Tcmperature 97.4° Fahrenheit. Pulse 76. Blood pressure 124/80.

GENERAL: Well developed well-nourished 38-year-01d female _

HEENT: Ears: Extcrnal canals, tympanic membranes and middle ears are normal bilaterally. Nose externally is normal;
hrtemally reveals len septal deviation with marked turbinate hyperrrophy. Mouth and pharymc are normal

NECK: Norrnal. » ~-

CH.EST: Clear to auscultation. -

CARDIOVASCULAR: Regular rate and rhythm without mumiurs, clicks, or gallops.

IMPRESSION:
1. Septal deviation with turbinate hypertrophy.
2. Soreness in the right neck and ear most likely of dental source

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mined By: Karhy Howse ` 1 ore _ 4/23/12 1.;34.-21 PM

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Consultation Report

§ EMRN: *

 

Patient:. 1 ,
Encounter: v .lul 15 2011 9:30AM

NECK: Nonnal.
CHEST: Clear to auscultation.
CARDIOVASCULAR: Regular rate and rhythm without murmurs, clicks, or gallops.

 

IMP__R.ESSION:
1. Septal deviation with turbinate hypertrophy.
2. Soreness in the right neck and ear most likely of dental source

RECOMMENDATIONS: Irecommend:
1. Complete evaluation with a dentist for tooth treatment
l recommend she consider septoplasty with redYO/n of turb/ates for improvement of nasal airway. She will think
about this after the dental probfe?i_izhas been ad essed. ’/
Thank you for allowing me to set 41 _ »)

Sincerely,

Andrew H. Ford, MD

AHF/dmm

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